Form ntcfinmgt (Revised 03/06/2013)


                                       United States Bankruptcy Court − District of Kansas
                                                161 Robert J. Dole US Courthouse
                                                        500 State Avenue
                                                      Kansas City, KS 66101

Case Number: 15−20184                                               Chapter: 13

In re: (Name of Debtor)
Mark H Engen                                                        Maureen E. Engen
7905 W. 96th Street                                                 7905 W. 96th Street
Overland Park, KS 66212                                             Overland Park, KS 66212


                                                                                                            Filed By The Court
                                            NOTICE OF REQUIREMENT TO FILE A
    Entered By The Court                 STATEMENT OF COMPLETION OF COURSE IN                                     2/6/15
           2/6/15                           PERSONAL FINANCIAL MANAGEMENT                                    David D. Zimmerman
                                                    (Official Form 23)                                          Clerk of Court
                                                                                                             US Bankruptcy Court


Notice is hereby given that, subject to limited exceptions, a debtor must complete an instructional course in personal financial
management after filing the petition in order to receive a discharge under chapter 7 (11 U.S.C. 727) or Chapter 13 (11 U.S.C. 1328).
Pursuant to Rule 1007(b)(7) of the Rules of Bankruptcy Procedure, the debtor(s) must complete and file Debtor's Certification of
Completion of Instructional Course Concerning Personal Financial Management (Official Form 23)* as described in 11 U.S.C. 111.
Debtor(s) and debtor(s)' attorney are hereby notified that Official Form 23 must be filed before a discharge can be entered. Debtor(s)
and debtor(s)' attorney are hereby notified that the debtor(s) must file Official Form 23 within 60 days after the first date set for the
meeting of creditors under § 341 for a chapter 7 case or no later than the last payment made by the debtor in a chapter 13 case.
Failure to file the certification will result in the case being closed without an entry of discharge. If a Motion to Reopen the Case is
subsequently filed by Debtor(s), to allow for the filing of the Official Form 23, the debtor(s) must pay the full reopening fee due for
filing the motion.


*NOTE: Official Form 23 (Debtor's Certification of Completion of Instructional Course Concerning Personal Financial Management)
must be filed in all individual chapter 7 and chapter 13 cases even if the U.S. Trustee has not approved any credit counseling
agency or financial management course for the applicable district. See Rule 1007(b)(7).




Document 9 − 4                                                      s/ David D. Zimmerman
                                                                    Clerk, United States Bankruptcy Court




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